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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

           CASE NO. 16-20595-CR-GAYLES (GRAHAM)/OTAZO-REYES(s)(s)


   UNITED STATES OF AMERICA,
            Plaintiff,

   vs.

   JACK KACHKAR,
            Defendant.
                                     /

               JACK KACHKAR’S MEMORANDUM IN SUPPORT OF
                 SENTENCING PURSUANT TO 18 U.S.C. § 3553(a)

         Jack Kachkar, through undersigned counsel, respectfully submits this

   Sentencing Memorandum demonstrating why he should receive a sentence

   substantially below the advisory guideline range.

                                         INTRODUCTION

         “Sentencing, that is to say punishment, is perhaps the most difficult task of a

   trial court judge.” Jack B. Weinstein, Does Religion Have a Role in Criminal

   Sentencing?, 23 Touro L. Rev. 539, 539 (2007). While there are many competing

   considerations in every sentencing decision, a sentencing judge must have some

   understanding of “the diverse frailties of humankind.” See Woodson v. North

   Carolina, 428 U.S. 280, 304 (1976) (plurality opinion). In deciding what sentence

   will be “sufficient, but not greater than necessary” to further the goals of

   punishment, 18 U.S.C. § 3553(a), a sentencing judge must have a “generosity of

   spirit, that compassion which causes one to know what it is like to be in trouble and
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   in pain.” Guido Calabresi, What Makes a Judge Great: To A. Leon Higginbotham,

   Jr., 142 U. Pa. L. Rev. 513, 513 (1993); see also Edward J. Devitt, Ten

   Commandments for the New Judge, 65 A.B.A. J. 574 (1979), reprinted in 82 F.R.D.

   209, 209 (1979) (“Be kind. If we judges could possess but one attribute, it should be

   a kind and understanding heart. The bench is no place for cruel or callous people

   regardless of their other qualities and abilities. There is no burden more onerous

   than imposing sentence in criminal cases.”).

         In this case, the Court should impose a sentence substantially lower than the

   advisory guideline range for the following reasons:

         •   Mr. Kachkar has significant medical issues, including hemochromatosis—

             a disease that results in too much iron in his blood. Without regular

             phlebotomies to remove the iron, excess iron builds up in the heart, liver,

             pancreas, joints, and pituitary. His assessments at FDC also have

             identified the following additional problems: disease of gallbladder;

             essential hypertension; impacted cerumen; Type II diabetes mellitus; and

             symptoms and signs of “genitourinary” system.

         •   Mr. Kachkar’s conduct that formed the basis of his convictions occurred

             over ten years ago. In the ensuing years, his actions and the publicity

             surrounding the civil litigation and now the criminal case have brought

             enormous shame and embarrassment to him and his family. Furthermore,

             the collateral consequences of his convictions – including deportation and

             monetary penalties – will impact him and his family for years to come.



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         •   The advisory guidelines applicable to Mr. Kachkar have no empirical basis

             and call for the Court to impose overlapping and cumulative adjustments.

         •   Based upon similar cases involving economic crimes, a sentence within

             the advisory guideline range will create great national and local disparity.

         •   Because of his age, education, marital status, lack of drug abuse, criminal

             history category, and nature of his offense, Mr. Kachkar poses a very low

             risk of reoffending.

         Fifteen years after the Supreme Court’s landmark decision in United States

   v. Booker, 543 U.S. 220 (2005), it is now “emphatically clear” that the “Guidelines

   are guidelines – that is, they are truly advisory.” United States v. Cavera, 550 F.3d

   180, 189 (2d Cir. 2008) (en banc). The Guidelines are no longer “the only

   consideration” at sentencing. Gall v. United States, 552 U.S. 38, 49 (2007). Rather,

   the Guidelines “merely” provide a “starting point” for the Court’s sentencing

   considerations. Id.; United States v. Matchett, 802 F.3d 1185, 1194 (11th Cir. 2015).

   The Court is to impose its sentence after “mak[ing] an individualized assessment

   based on the facts presented” in each particular case. Gall, 552 U.S. at 49. The

   Court need not find “extraordinary circumstances to justify a sentence outside of the

   Guidelines range.” Id. at 47. As one district court judge has put it, the Guidelines’

   “most fundamental flaw is the notion that the complexity of human character and

   conduct can be rationally reduced to some arithmetic formula.” Terry Carter,

   Rakoff’s stance on the SEC draws fire, praise—and change: The Judge Who Said No,

   ABA Journal, Oct. 2013, at 53.



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            This is especially true in economic crime cases such as this, where the

   sentencing range is largely determined by escalating loss enhancements pursuant

   to USSG § 2B1.1, and overlapping cumulative upward adjustments, an increasingly

   criticized approach that usually results in draconian advisory guidelines. See, e.g.,

   United States v. Adelson, 441 F. Supp. 2d 506, 512 (S.D.N.Y. 2006) (describing “the

   utter travesty of justice that sometimes results from the guidelines’ fetish with

   abstract arithmetic, as well as the harm that guideline calculations can visit on

   human beings if not cabined by common sense.”); see also United States v. Parris,

   573 F. Supp. 2d 745, 754 (E.D.N.Y. 2008) (noting that despite the fact that the

   Guidelines “reflect Congress’ judgment as to the appropriate national policy for such

   crimes . . . this does not mean that the Sentencing Guidelines for white-collar

   crimes should be a black stain on common sense” and sentencing defendant “to a

   term of incarceration of 60 months in the face of an advisory guidelines range of 360

   to life.”). The Supreme Court and Eleventh Circuit’s decisions have significantly

   broadened the discretion of courts to impose a less stringent sentence than the one

   suggested by the Guidelines, and in this case, the Court should exercise its broad

   discretion and impose a sentence substantially below the recommended guideline

   range.

            1.    MR. KACHKAR’S AGE AND HEALTH CONCERNS WARRANT A
                  SENTENCE BELOW THE ADVISORY GUIDELINES

            Mr. Kachkar’s age – 56 – suggests that a lengthy sentence of imprisonment

   would be particularly deleterious. A study commissioned by the Department of

   Justice’s National Institute of Corrections concluded that imprisonment is

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   especially problematic for older inmates like Mr. Kachkar, finding that “several

   important factors seem to speed the aging process for those in prison” and

   identifying numerous management problems associated with older inmates. See

   Addressing the Needs of Elderly, Chronically Ill, and Terminally Ill Inmates,

   National Institute of Corrections, U.S. Department of Justice, Correctional Health

   Care (2004) at 8-9 (hereinafter referred to as “Addressing the Needs of the Elderly”)

   (available at https://s3.amazonaws.com/ static. nicic.gov/ Library/018735.pdf) (last

   accessed June 26, 2019). This study noted that older inmates: are uniquely

   vulnerable to abuse and predation; experience difficulty in establishing social

   relationships; often need special physical accommodations in a relatively inflexible

   physical environment; and need special programs in a setting where special

   privileges are disdained. Id. at 11. 1 The study found that older first-time offenders

   “are   frequently   severely    maladjusted and especially          at risk for suicide,

   explosiveness, and other manifestations of mental disorder.” Id. Moreover, “[s]ince

   their behaviors are not well tolerated by other inmates, their victimization potential

   is high.” Id.


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     “Some administrators recommend that age 50 be the chronological age defining the el-
   derly in prison. While 50 may seem young to be classified as elderly in the free world,
   several important factors seem to speed the aging process for those in prison. These fac-
   tors include the amount of stress experienced by new inmates trying to survive the prison
   experience unharmed; efforts to avoid confrontations with correctional staff and fellow
   inmates; financial stress related to inmates’ legal, family, and personal circumstances;
   withdrawal from chronic substance abuse; and lack of access to adequate medical care
   prior to incarceration. All contribute to inmate stress, which, in turn, accelerates the aging
   process.” See Addressing the Needs of the Elderly at 8-9.


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         Mr. Kachkar was a relatively healthy 53-year-old man before he was arrested

   and detained in September 2016. As detailed in the PSI, since that time, his health

   has deteriorated. See PSI ¶¶ 108-130. In jail, he has developed significant mental

   health issues. PSI ¶126-130. At various points, Mr. Kachkar has needed to be

   transported to Larkin Hospital for treatment. PSI ¶ 107. Since his incarceration,

   Mr. Kachkar has been prescribed numerous prescription drugs to address various

   health challenges. See PSI ¶¶ 109, 120, 125. Although Mr. Kachkar maintains a

   good attitude, the reality is he is not the relatively healthy man he was prior to his

   incarceration.

         First, Mr. Kachkar has already been targeted and victimized while in

   custody. PSI ¶ 6. As noted by DOJ, “[o]lder inmates may have difficulty relating to

   younger, more aggressive inmates. Additionally, they are prone to being victimized

   by younger inmates.” Addressing the Needs of the Elderly at 30. While at FDC

   Miami, Mr. Kachkar has already been subjected to threats and extortion. In fear for

   his safety, he gave money to other inmates; yet he was the one who was placed in

   solitary confinement for 30 days. PSI ¶ 6.

         Second, Mr. Kachkar has developed significant mental health issues. PSI ¶¶

   126-130. Since incarceration, he has been enrolled in the mental health clinic and

   diagnosed with major depressing disorder (recurrent). PSI ¶ 30. He was prescribed

   anxiety medications, has suffered from insomnia, and has initiated contact with the

   mental health staff at FDC. PSI ¶¶ 126-129. However, FDC’s mental health staff




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   has only been able to see him a few times in the many months he has been

   incarcerated. PSI ¶¶ 126-129.

         Third, and perhaps most troubling, is Mr. Kachkar’s hemochromatosis—a

   disease that results in too much iron in his blood. Without regular phlebotomies to

   remove the iron, excess iron builds up in the heart, liver, pancreas, joints, and

   pituitary. If the iron is not removed, these organs can become diseased. Mr.

   Kachkar was arrested in September 2016; his August 2018 assessment identified

   the following problems, in addition to his hemochromatosis: disease of gallbladder;

   essential hypertension; impacted cerumen; Type II diabetes mellitus; and symptoms

   and signs of “genitourinary” system. PSI ¶ 115. As explained by the non-profit Iron

   Disorders Institute, mismanaged hemochromatosis increases the risk for these very

   conditions and diseases. See https://www.hemochromatosis.org/#overview (last

   accessed June 25, 2019).

         There have already been issues regarding the proper monitoring of Mr.

   Kachkar’s phlebotomies. First, the hematologist recommended that he receive

   phlebotomies “monthly” but then Mr. Kachkar was switched to every three

   months—contingent on his iron levels being below 50. PSI ¶¶ 111, 117, 121. Yet,

   Mr. Kachkar’s current iron levels are reportedly at 78. 2 Second, even though Mr.

   Kachkar is designated as being in the chronic care clinic, he has not received his

   phlebotomies regularly. PSI ¶¶ 114, 117. For example, it appears he had a



   2Counsel is pending receipt of Mr. Kachkar’s medical records for the period of
   February 2019 through the present, in order to view his iron levels, current
   phlebotomy schedule, as well as the status of his other medical conditions.
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   phlebotomy September 2018, but then his next phlebotomy was not until February

   2019. PSI ¶¶ 121, 123. According to the PSI, FDC claims his August 20, 2018,

   phlebotomy was cancelled because Mr. Kachkar was “in court.” PSI ¶ 124. The

   docket does not indicate there was court that day, yet Mr. Kachkar’s BOP clinical

   file contains that erroneous notation.

         Mr.     Kachkar’s      diabetes—which      developed     because     of    his

   hemochromomatosis—is exacerbated by his poorly regulated iron. Again, as excess

   iron deposits in his organs, including his pancreas, which is responsible for insulin

   production, his ability to produce insulin is impacted. He is currently being treated

   with insulin (28 units twice a day), metformin, and glipizide. Before he entered

   FDC, he had been treated as a Type I diabetic, but upon entry into FDC, he was

   labeled a Type II diabetic. PSI ¶¶ 107-108. As he ages, his medical conditions,

   especially without vigilant care, will continue to worsen. He has already been

   identified by BOP as an inmate who is at “high risk” for developing Hepatocellular

   carcinoma.” PSI ¶ 121.

         Section 3553(a) recognizes that the Court should take into account any

   medical issues facing the defendant and whether the sentence imposed will “provide

   the defendant . . . with needed medical care . . . in the most effective manner.” 18

   U.S.C. § 3553(a)(2)(D). The advisory Guidelines likewise provide that: “[p]hysical

   condition or appearance, including physique, may be relevant in determining

   whether a departure is warranted, if the condition or appearance, individually or in

   combination with other offender characteristics, is present to an unusual degree



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   and distinguishes the case from the typical cases covered by the guideline.” USSG

   §5H1.4. Courts routinely impose below guideline sentences in cases involving

   defendants who suffer from serious medical conditions.

          For example, following the defendant’s conviction after trial for wire fraud in

   United States v. Burks, 2010 WL 1221752 (E.D.N.Y. Mar. 29, 2010), the sentencing

   court imposed a sentence of one month incarceration and five years’ probation

   despite a Guidelines range of 57-71 months where the defendant suffered from

   degenerative diabetes. Id. at *2; see also United States v. McFarlin, 535 F.3d 808,

   810-11 (8th Cir. 2008) (affirming variance for 56-year old defendant with numerous

   health problems, including coronary disease and who had undergone several

   operations); United States v. Alatsas, 2008 WL 238559 (E.D.N.Y. Jan. 16, 2008)

   (imposing a term of probation, despite Guidelines range of 24-30 months where,

   inter alia, “[d]efendant has multiple complex medical problems, which will be better

   cared for outside of prison.”).

          In United States v. Barbato, 2002 WL 31556376 (S.D.N.Y. Nov. 15, 2002), a

   pre-Booker decision, the defendant pled guilty to using extortionate means to collect

   extensions of credit. The sentencing court granted a downward departure from a

   then-mandatory Guideline range of 24-30 months’ imprisonment based on the

   defendant’s history of heart problems, and imposed a sentence of home detention

   and two years of supervised release. Notably, the Barbate court imposed home

   confinement even though the prosecution contended that the Bureau of Prisons

   would be able to provide adequate treatment for the defendant’s health conditions.



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   The court noted that “[i]t is often relevant, though not always controlling, whether

   the BOP can provide adequate care.” Id. at *4.

           For all of these reasons, Mr. Kachkar’s deteriorating physical health,

   together with his age, weigh strongly in favor of a sentence substantially below the

   advisory guideline range.

           2.    THE SPECIFIC OFFENSE CHARACTERISTICS APPLICABLE
                 IN THIS CASE IMPOSE CUMULATIVE PUNISHMENT FOR
                 THE SAME HARM

           The first fraud guideline, § 2F1.1, included two specific offense characteristics

   in addition to loss: one with four subparts applicable in the alternative and one that

   required a floor of 12 levels. See U.S.S.G. § 2F1.1 (1987). Today, § 2B1.1 includes

   twenty cumulative specific offense characteristics, many with multiple alternatives.

   See U.S.S.G. § 2B1.1 (2018). In the initial guidelines, if there was “more than

   minimal planning” and “more than one victim,” one 2-level enhancement applied.

   Today, “sophisticated means” and “10 or more victims” alone cumulatively produce

   a 4-level enhancement. Ten of the levels used to calculate Mr. Kachkar’s guideline

   range come from specific offense characteristics in § 2B1.1 other than loss amount

   (2 levels for causing a substantial financial hardship to one victim, 2 levels for

   sophisticated means, and 4 levels for jeopardizing the safety and soundness of a

   financial institution), and a 4-level upward adjustment from Chapter Three for role

   in the offense. Without the specific upward adjustments (aside from loss), Mr.

   Kachkar would be facing an advisory guideline range of 108-135 months instead of

   Life.



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          As legal scholars have noted, these factors are “closely correlated” with each

   other and with loss. See Frank O. Bowman III, Sentencing High-Loss Corporate

   Insider Frauds After Booker, 20 Fed. Sent. R. 167, 170, 2008 WL 2201039, at *6

   (Feb. 2008). “In effect, what the Guidelines have done over time is to tease out many

   of the factors for which loss served as a rough proxy and to give them independent

   weight in the offense-level calculus.” Id. “The result is that many factors for which

   loss was already a proxy not only have been given independent weight but also

   impose disproportionate increases in prison time because they add offense levels on

   top of those already imposed for loss itself and do so at the top of the sentencing

   table where sentencing ranges are wide . . . . Any case involving a corporate officer

   and a multimillion-dollar fraud will almost always trigger application of multiple

   offense-level enhancements that have the effect of punishing the defendant over and

   over for the same basic thing – conducting a big fraud in a corporate setting.” Id. at

   *7. See also Samuel W. Buell, Overlapping Jurisdictions, Overlapping Crimes:

   Reforming Punishment of Financial Reporting Fraud, 28 Cardozo L. Rev. 1611,

   1648- 49 (2007) (factors such as sophisticated means and large number of victims

   “double-count because they are captured by other enhancements or by the loss

   calculation.”); Alan Ellis, John R. Steer, Mark Allenbaugh, At a “Loss” for Justice:

   Federal Sentencing for Economic Offenses, 25 Crim. Just. 34, 37 (2011) (“the loss

   table often overstates the actual harm suffered by the victim,” and “[m]ultiple,

   overlapping enhancements also have the effect of ‘double counting’ in some cases,”




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   while “the guidelines fail to take into account important mitigating offense and

   offender characteristics.”).

         The Commission has recognized this problem of “factor creep” – as “more and

   more adjustments are added to the sentencing rules, it is increasingly difficult to

   ensure that the interactions among them, and their cumulative effect, properly

   track offense seriousness.” USSC, Fifteen Years of Guideline Sentencing 137 (2004)

   (available at https://www. ussc.gov/sites/default/files/pdf/research-and-publications

   /research-projects-and-surveys/miscellaneous/15-year-study/15_year_study_

   full.pdf)(last accessed June 26, 2019).

          In 1999, Justice Breyer warned that “[t]here is little, if anything, to be

   gained in terms of punishment’s classical objectives by trying to use highly detailed

   offense characteristics to distinguish finely among similar offenders. And there is

   much to be lost, both in terms of Guideline workability and even in terms of fairness

   (recall the Guidelines’ logarithmic numerical scales). . . . The precision is false.” See,

   e.g., Justice Stephen Breyer, Federal Sentencing Guidelines Revisited, 11 Fed.

   Sent’g Rep. 180, 1999 WL 730985, at *11 (1999). Since the Commission has not

   corrected the problem of multiple overlapping enhancements (and indeed

   exacerbated the problem), many courts have recognized that a departure or

   variance is warranted to avoid it. See, e.g., United States v. Lauersen, 362 F.3d 160,

   164 (2d Cir. 2004) (subsequently vacated in light of Booker) (upholding departure to

   mitigate effect of “substantially overlapping enhancements” at the high end of the

   fraud sentencing table); United States v. Parris, 573 F. Supp. 2d 744, 745 (E.D.N.Y.



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   2008) (guidelines in security fraud cases “are patently absurd on their face” due to

   the “piling on of points” under § 2B1.1); United States v. Adelson, 441 F. Supp. 2d

   506, 510 (S.D.N.Y. 2006) (guidelines in fraud cases have “so run amok that they are

   patently absurd on their face,” and describing enhancement for “250 victims or

   more,” along with others, as “represent[ing], instead, the kind of ‘piling-on’ of points

   for which the guidelines have frequently been criticized”).

         3.     WESTERNBANK MANAGEMENT IS RESPONSIBLE FOR THE
                ULTIMATE FAILURE OF THE BANK

         For years, Westernbank has scapegoated Mr. Kachkar for the bank’s demise.

   The government now has joined that effort in an attempt to incarcerate Mr.

   Kachkar for a longer term. The simple truth is that Westernbank’s Board,

   management and certain other officials failed in their primary fiduciary duty to

   ensure that the bank was operated in a safe and sound manner. This failure, and

   not Mr. Kachkar’s actions, led directly to the tremendous losses experienced by the

   Bank and ultimately the bank’s insolvency.

         Various experts have found the following 3: During the years prior to closure,

   the Board and management embarked upon a period of rapid expansion, high loan

   growth, and forays into new loan products. In the years 1999 through 2009, the

   bank grew from a $3.4 billion to a $17.9 billion institution. The Board and

   management failed to properly manage or control this rapid growth. Overall risk


   3The information provided in this section is taken, nearly verbatim, from two re-
   ports issued by an expert engaged by the FDIC and the Receiver for Westernbank in
   the course of the civil litigation: Michael Clabby, Expert Report (November 25,
   2013)(attached as Exhibit A); and James A. Brown, Demand Letter (December 17,
   2010)(attached as Exhibit B).
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   management practices failed to keep pace with the increasing risk profile of the

   bank. The bank lacked adequate policies, procedures, controls, and infrastructure to

   ensure the safe and sound condition of the bank. The Board, Senior Lending and

   Credit Committees and other officers directly responsible for generating and

   administering loans systematically ignored the procedures and controls that were in

   place. In addition, risk selection, diversification of risk, and loan underwriting were

   all extremely weak.

         The bank's growth occurred primarily in higher risk lending categories:

   construction, land development, commercial real estate, and asset-based lending.

   Although the increased lending in these categories initially boosted short term

   earnings, the increased concentrations in these categories ultimately exposed the

   Bank to excessive credit risk. The directors and officers approved these loans

   without adequate information and knowingly violated bank policies and procedures.

   Many of these loans violated financial and regulatory safeguards, such as loan-to-

   value (“LTV”) ratios, and requirements for appropriate appraisals and valuations.

   The bank failed to properly report construction loans with excess LTV ratios (of

   which there were many), thus hiding a significant problem from the regulators.

   Further, to prevent loans from being classified, and to enable themselves to

   continue to book interest received, the directors and officers approved and extended

   additional credit to replenish interest reserves, even as the economic viability of the

   projects continued to deteriorate. According to the FDIC, these extensions were

   approved and made recklessly in violation of the bank’s policies and procedures and



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   prudent underwriting practices.

         The Board and senior management were well aware of these issues through

   FDIC examination reports, warnings from auditors, and other sources of material

   deficiencies in the operations of the Bank, including the Bank's lack of sufficient

   internal controls. They ignored the warnings. Multiple FDIC reports of examination

   warned management of material deficiencies in operations and internal controls.

   Unsafe and unsound practices noted in the FDIC’s reports of examination for the

   years 2004 through 2008, included:

         • Violations of rules and regulations regarding LTV ratios and the reporting
           thereof

         • Deficiencies in loan review processes

         • Advancing of new funds without appropriate appraisals

         • Inadequate underwriting procedures

         • Poor loan administration

         • A lack of independent of loan reviews

         • Failure to insure adequate credit risk management practices/ procedures

         • Failure to improve the Bank's loan review program

         • Failure to identify risk in a timely manner

         • Inappropriate ALLL (allowance for loan and lease loss) methodology for the
            risk profile of the bank

         • Failure to address examiner/auditor recommendations in a timely manner

         • Failure to monitor or address loan concentrations

         • Ongoing violations of laws and regulations



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         • Failure to maintain adequate capital levels

          •Lack of independent directors

   The Bank’s external auditor, Deloitte & Touche, LLP (“Deloitte”), also alerted the

   Board and senior management to serious problems within the Bank. In an April

   2006 management letter, Deloitte made various recommendations to improve the

   Bank’s “significant deficiencies.” The auditors noted, among other things, that the

   rapid expansion of the Bank's lending function had left the Bank with an outdated

   credit review function to monitor loans for possible impairment. Deloitte found

   particular fault with the bank’s asset based lending division (WBC) and

   recommended that WBC:

         • Increase and enhance resources assigned ascertaining that all are
           appropriately qualified, including relevant experience in asset-based
           lending

         • Provide relevant formal and periodic technical training to current
           personnel

         • Enhance the analysis performed to detect impaired loans.

         • Enhance the documentation of the analysis performed to determine the
           adequacy of the specific reserves, including rationale and evidence
           supporting collateral realizable values.

   Consequently, not only were the Board and senior management warned of the

   problems at the bank generally, they also were alerted to problems with the WBC

   division in particular.

         The Board and senior management knew that the Bank's overall financial

   condition was deteriorating years before closure. For example, from 2005 forward,

   asset quality declined precipitously. This was a clear signal to the Board and senior

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   management of the severe problems within the bank. Significantly, these problems

   arose years before the national recession. As of March 31, 2005 (the month the bank

   entered into the initial loan agreement with Inyx), the regulators categorized

   $63,482,000 in assets as substandard. A year later, as of March 31, 2006, the

   regulators categorized $204,747,000 in assets as substandard - nearly a fourfold

   increase in one year.

         Despite these glaring red flags, the Board and management failed to take

   effective curative actions and the Bank continued to make reckless and imprudent

   loans and loan extensions. Overall, the Board and management failed to take timely

   remedial actions to address the severe problems described above, which led directly

   to the losses described below. With respect to the WBC division, the Board and

   senior management permitted one man – Miguel Vazquez – to have virtual carte

   blanche control over a portfolio worth $1.5 billion.

         In filings with the Securities and Exchange Commission, the bank restated

   certain prior financial results for the years 2005 and 2006. In those filings, the

   Board and the Bank’s independent accountants acknowledged the lack of controls,

   underwriting weaknesses, and inadequate risk management that existed at the

   bank. Essentially, the Board and its auditors admitted to the unsafe and unsound

   conditions that caused the losses at issue.

         The Board was required to approve all loans over $50 million. The Senior

   Loan Committee was required to approve all loans over $5 million. As shown below,

   the Board and the Senior Loan Committee repeatedly approved and ratified loans,



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   loan increases, and loan extensions in violation of bank policies and procedures and

   federal regulations and that were otherwise reckless and imprudent.

         In breach of their fiduciary duties to the bank, the board members W Holding

   favored their short term personal interests over the safety and soundness of the

   Bank and the federally insured deposits entrusted to them. They treated the bank

   as an earnings catalyst for W Holding. The meetings of the Board of the Bank and

   the Board of W Holding were held simultaneously.

         The combined board meetings narrowly focused on short term growth and the

   price of W Holding stock, with litt1e regard for the problems that eventually led to

   the failure and closure of the bank. These directors owned stock in W Holding and

   benefited personally from any short term stock appreciation. Acting to serve that

   interest, the directors embarked on an ill-advised growth strategy which sought

   short term growth results. As discussed below with respect to loans, they took every

   opportunity to book short term profits, which only served to disguise the problems

   growing under the surface.

         As these experts have concluded, the gross negligence of the bank’s Board,

   the Senior Loan Committee, and certain other officers led directly to the massive

   losses suffered by the bank. The following loans, in addition to the Inyx loans,

   contributed substantially to the Bank’s losses and ultimate failure: Museum Towers

   LP; Plaza CD Development Corp.; Yasscar Development Corp. Loan; Yasscar

   Caguas Development Corp. Loan; Intercoffee, Inc. Loan; Palmas Lakes, Inc. Loan;

   362 Del Parque Corp. Loan; and two Sabana Del Palmar Loans.



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            Based upon the foregoing, Mr. Kachkar should not be held accountable for

   the actions of Westernbank’s Board and top management.

            4.    A SENTENCE SUBSTANTIALLY LOWER                          THAN THE
                  ADVISORY GUIDELINES     IS NEEDED                       TO  AVOID
                  UNWARRANTED DISPARITIES

            The Court must consider the need to avoid unwarranted disparities among

   defendants with similar criminal histories convicted of similar criminal conduct. 18

   U.S.C. § 3553(a)(6). The court should avoid unwarranted similarities in sentencing

   among defendants who are different in ways not accounted for in the guideline

   range, see Gall, 552 U.S. at 55 (“need to avoid unwarranted similarities among

   other co-conspirators who were not similarly situated”); and unwarranted

   differences among defendants whose conduct and characteristics are similar. See

   Parris, 573 F. Supp. 2d at 753, 756-62. In fiscal year 2018, sentences below the

   guideline range were imposed in 57.5% of all fraud cases; 15.2% were government-

   sponsored, 42.3% were non-government sponsored. See USSC, 2018 Sourcebook of

   Federal Sentencing Statistics, tbl.E-7 (available at https://www.ussc.gov/sites/

   default/files/pdf/research-and-publications/annual-reports-and-

   sourcebooks/2018/2018-Annual-Report-and-Sourcebook.pdf (last accessed June 26,

   2019).

            In considering the issue of disparity, the Court should take into account that

   the government only prosecuted Mr. Kachkar. The government did not bring

   charges against Jay Green, Colin Hunter, Steven Handley, or Rima Goldschmidt. In




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   addition, the government did not prosecute Miguel Vazquez for any of the various

   criminal banking offenses he committed.

         Apart from the significant disparity that a guideline sentence would create,

   the chart attached as Exhibit C includes a sample of fraud cases from districts

   across the country, many of which involved losses far greater than in this case, in

   which defendants received sentences substantially below the guideline ranges

   applicable in those cases, and substantially below the guideline range of Life as

   recommended by the PSI. A sentence for Mr. Kachkar within the guideline range

   would exaggerate the disparity that the law demands be narrowed. 4

         5. MR. KACHKAR POSES A VERY LOW RISK OF RECIDIVISM

         Because of the nature of these offenses, the damage done to his reputation,

   his advanced age at the likely time of his release, and his serious health issues, Mr.

   Kachkar poses a very low risk of recidivism. See, e.g., United States v. Smith, 275 F.

   App’x 184, 187 (4th Cir. 2008) (affirming 54 months downward variance in part

   because of low risk of recidivism). Mr. Kachkar is 56 years old, in Criminal History

   Category I, a college graduate, has been employed throughout his adult life, has

   been married for twenty-five years, and has no history of drug abuse. Combined




   4
     A comparison to other crimes also demonstrates that a sentence lower than the
   advisory guideline range would be reasonable. For fiscal year 2017, the median sen-
   tence for murder was 180 months; for sexual abuse was 120 months; for money
   laundering was 18 months; and for racketeering/extortion was 60 months. USSC,
   Interactive Sourcebook of Federal Sentencing Statistics (2018) (available at
   https://isb.ussc.gov/api/repos/:USSC:table_    xx.        xcdf/      generatedCon-
   tent?table_num=Table13) (last accessed June 26, 2019).


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   with the nature of his offenses, studies demonstrate these factors lead to the

   conclusion that Mr. Kachkar poses a very low risk of recidivism.

         As to the nature of the instant offense, “white-collar” offenders generally are

   considered low risk by the Sentencing Commission and pose very little risk of

   reoffending. USSC, Measuring Recidivism: The Criminal History Computation Of

   The      Federal      Sentencing      Guidelines,      at     13      (available        at

   https://www.ussc.gov/sites/default/files/pdf/research-and-publications/

   research-publications/2004/200405_Recidivism_Criminal_History.pdf)(last accessed

   on June 26, 2019).

         Statistical data from a study commissioned by the Sentencing Commission

   also show that “[r]ecidivism rates decline relatively consistently as age increases.”

   Id. at 12. That study indicates that a defendant over the age of 50 and in Criminal

   History Category I has a 6.2% likelihood of recidivating. Id. Beyond his age, a

   number of other characteristics make recidivism highly unlikely, including Mr.

   Kachkar’s advanced level of education and lack of illicit drug use. See id. at 12-13.

         A related study of recidivism rates by first offenders showed that such first

   offenders had a “primary” recidivism rate (including supervised release/probation

   violations, re-arrest, and re-convicted) of 6.8%, and a re-conviction rate (involving

   an actual conviction for a subsequent offense) of only 2.5%. U.S.S.C., Recidivism

   and        the        “First       Offender”         (2004)        (available       at:

   https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

   publications/2004/200405_Recidivism_First_Offender.pdf, Ex. 6 (last accessed June



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   25, 2019). For offenders with zero criminal points but with a conviction that does

   not “count,” the recidivism rate ticks slightly upward to 2.9%. Id.

         For all male offenders in Criminal History Category (“CHC”) I, the recidivism

   rate is 15.2%. For those over age 50 at the time of sentencing, however, the rate in

   Category I is only 6.2%. For those who are college graduates, the rate in CHC I is

   just 7.1%; for those who have been employed, the rate is 12.7%; and for those who

   were ever married, the rate is 9.8%. For those with no history of illicit drug use, the

   recidivism rate is half that of those who do have a drug history. For those like Mr.

   Kachkar who are educated, have been employed, have been married, are drug free

   and over 50, the recidivism rate is certainly much lower. See Measuring Recidivism,

   at Exh. 9, at 28; Exh. 10, at 29.

         For all Category I defendants convicted of fraud, the recidivism rate is just

   9.3%, the lowest of any offense category, which is 45% below the rate for all fraud

   offenders. Id., Exh. 11, at 30. Finally, offenders like Mr. Kachkar with zero criminal

   history points have a rate of recidivism half that of offenders with one criminal

   history point. Id. at 13-14. The Commission has recognized the advisability of

   revising the guidelines to take age and first offender status into account. Id. at 1-2

   (identifying goal of “refin[ing] a workable ‘first-offender’ concept within the

   guideline criminal history structure”); Measuring Recidivism at 16 (noting that

   “[o]ffender age is a pertinent characteristic” that would “improve [the] predictive

   power of the guidelines “if incorporated into the criminal history computation”). The

   Commission has not implemented any such revisions to the criminal history



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   guidelines, but has recently stated that age “may be relevant” in granting a

   departure. USSG § 5H1.1, p.s. Recidivism studies therefore show that those in Mr.

   Kachkar’s circumstance, those over fifty years of age and who find themselves in

   Criminal History Category I, have an especially low rate of recidivism.

         Mr. Kachkar has been personally and financially devastated as a result of his

   conduct. There is no reason to believe that a sentence within the advisory guideline

   range is necessary to prevent him from committing further crimes. “The

   Commission did not find a strong correlation between the severity of the offender’s

   federal offense conduct, as determined under the sentencing guidelines, and future

   recidivism. Under the guidelines, the seriousness of an offender’s federal crime is

   measured by a final offense level score ranging from one to 43. There is not a strong

   correspondence between final offense level and recidivism.” See U.S. Sentencing

   Commission, Recidivism Among Federal Offenders: A Comprehensive Overview, at

   p.20 (March 2016) (available at https://www.ussc.gov/sites/default/files/pdf/research-

   and-publications/research-publications/2016/recidivism_overview.pdf) (last accessed

   June 26, 2019).




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                                            CONCLUSION

         Mr. Kachkar already has served nearly 3 years in prison. A sentence within

   the advisory guideline range would be “greater than necessary” to serve the

   purposes of punishment. We respectfully request the Court to consider the foregoing

   in fashioning a just and appropriate sentence. 5

                                             Respectfully Submitted,

                                             MICHAEL CARUSO
                                             FEDERAL PUBLIC DEFENDER

                                      By:    Michael Caruso
                                             Florida Bar No. 051993
                                             Michael_Caruso@fd.org

                                             s/ Sowmya Bharathi
                                             Florida Bar No. 81676
                                             150 West Flagler Street, Suite 1700
                                             Miami, Florida 33130-1556
                                             Tel. (305) 530-7000
                                             Sowmya_Bharathi@fd.org

                              CERTIFICATE OF SERVICE

         I HEREBY certify that on June 27, 2019, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF.             I also certify that the
   foregoing document is being served this day on all counsel of record via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other
   authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.


                                     By: s/ Sowmya Bharathi


   5Mr. Kachkar will request a Court order that he remain at the Federal Detention
   Center Miami during the pendency of his appeal to assist counsel.
                                              24
